                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                   Plaintiff,                    )
                                                 )
      v.                                         )      Criminal Action No.
                                                 )      09-04003-16-CR-C-NKL
DONNA COATS                                      )
                                                 )
                   Defendant.                    )

                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of United States Magistrate Judge William

Knox, to which no objection has been filed, the plea of guilty to Count 21 of the Indictment is

now accepted. Defendant is adjudged guilty of such offense. Sentencing will be set by

subsequent order of the court.



                                                         s/ NANETTE K. LAUGHREY
                                                        NANETTE K. LAUGHREY
                                                        United States District Judge

Dated: October 26, 2009




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